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January13, 2017

Hon. Yvonne Gonzalez Rogers

United States District Court, Northern District of California
Oakland Courthouse, Courtroom 1 - 4th Floor

1301 Clay Street

Oakland, CA 94612

Re: Heldt, et al. v. Tata Consultancy Services, Ltd., No. 4:15-cv-01696-YGR

Defendant Tata Consultancy Services, Ltd. (“TCS”) respectfully requests a pre-filing conference
to address the motion for summary judgment or partial summary judgment that it is considering
in this action. The filing deadline for the motion is January 31, 2017. We understand that the
Court normally conducts pre-filing conferences on Wednesdays and Fridays, but is unavailable
on those days for the next two weeks. Per the Court’s instructions, we have confirmed with
opposing counsel that they are available on lVlonday, January 23, for a conference at any time.

Plaintiffs allege that through TCS’ use of a lawful visa program and local hiring decisions, TCS
engaged in a pattern and practice of disparate treatment against “non-South Asian” (i.e. “non-
lndian”) employees and applicants. Brian Buchanan and Christopher Slaight are the named
plaintiffs. The complaint alleges claims for (1) race and national origin discrimination in violation
of Title Vll and (2) racial discrimination in violation of the Civil Rights Act of 1986. TCS seeks
permission to file summary judgment on all claims, or alternatively, partial summary judgment.

The Named Plaintiffs’ C|aims Fail Under a
“Pattern or Practice” Theory of Disparate Treatment

“Pattern-or-practice disparate treatment claims focus on allegations of widespread acts of
intentional discrimination against individuals. To succeed on a pattern-or-practice claim,
plaintiffs must prove more than sporadic acts of discrimination; rather, they must establish that
intentional discrimination was the defendant’s ‘standard operating procedure.”’ EEOC v.
Bloomberg L.P_, 778 F. Supp. 2d 458, 468 (2011) (citing /nf’l Bhd. Of Teamsters v. United
States, 431 U.S. 324, 336 (1977)).

ln this case, the named plaintiffs intend to rely on statistical evidence to prove they suffered
from a pattern or practice of disparate treatment. However, plaintiffs’ attempt to use statistics
enhanced by TCS’ lawful use of the visa program for its existing workforce is inappropriate1

 

1 Plaintiffs cannot rely on Tata's lawful use of the visa system implemented by treaty agreements to
establish liability under Title Vll. See Wallace v. SMC Pneumatics, lnc., 103 F.3d 1394, 1401 (7th Cir.
1997) (affirming dismissal of discrimination claims because foreign trade agreement allowed foreign
company operating in the United States to prefer its own citizens); Papaila v. Uniden America Corp.,
51 F.3d 54, 55 (5th Cir. 1995) (affirming order granting summaryjudgment on Title Vll claim).

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TCS’ right to use its existing workforce pursuant to such visas is granted pursuant to foreign
trade agreements, such as the General Agreement on Trade in Services. As such, the statistics
actually pertinent to the named plaintiffs reveal no evidence of discrimination Slaight was hired
by TCS through an on-campus recruiting process. The vast majority of TCS employees hired
from the campus recruiting program are of non-South Asian descent. Further, TCS’
demographics for the Southern California Edison project, which form the basis of Buchanan’s
allegations, reveal no bias toward non-South Asian workers.

Throughout discovery the named plaintiffs have relied on the statistics alleged in their complaint
to establish their pattern or practice theory. Those statistics include (1) 2010 census data
reflecting the number of South-Asians living in the United States, (2) a survey by the Association
of information Technology Professionals (“AlTP”) (a networking organization for paying
members) as to the demographics of its membership, and (3) an assumption as to the
composition of TCS’ workforcel which plaintiffs allege is “approximately 95% South Asian
workers (primarily from lndia).” Third Am. Compl. 1111 22-23 and fn. 2. While courts accept
statistical evidence to prove discriminatory intent, the value of the statistical evidence depends
upon “the absence of variables which would undermine the reasonableness of the inference of
discrimination.” See, e.g., Spaulding v. Univ. of Washington, 740 F.2d 686, 703 (9th Cir. 1984).
And indeed, the statistics relied upon by named plaintiffs fail to account for a multitude of
variables. For instance, census data relating to the population as a whole says nothing about
the demographics of qualified lT employees in the regions where named plaintiffs worked or
allegedly applied for work. As for the AlTP study, it has never been produced, and its
methodology, authorship and accuracy are unknown (as are other salient qualitative and
quantitative aspects of the study).

The raw statistics in the complaint suffer another problem: “the weight to be accorded such
statistics is determined by the existence of independent corroborative evidence of
discrimination.” American Federation of State v. Washington, 770 F.2d 1401, 1407 (9th Cir.
1985). Such corroborative evidence is wholly absent in this case.

Slaight testified that he has no factual basis to support any of the pattern and practice
allegations in this action other than the statistics stated in the complaint Slaight Dep. 183:7-16,
166:16-192:25, 215:25-223:25. Buchanan testified that he could “infer” discrimination from (1)
the fact that he is white, (2) the statistics in the complaint (his reliance upon which is mistaken
for the reasons noted above), and (3) his observation about the number of indians working for
TCS. Buchanan Dep. 148:1-149:7, 152:14-18. Proof of discrimination under a pattern or
practice theory requires significantly more, and summary judgment is therefore proper. See e.g.
Lewis v. Tobacco Workers’ /nternational Union, 577 F.2d 1135, 1141 (4th Cir. 1978) (“liability
may not be based solely on the existence of a racial imbalance among employees”).

The Named Plaintiffs’ individual C|aims Likewise Fail Even if a Presumption Existed
Under Teamsters for Purposes of TCS’ Motion

Even if the Court were to assume statistical evidence created a Teamsters presumption in this
case (and it does not), named plaintiffs’ claims would nonetheless fail based on their own
testimony.

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Slaight was hired through the campus recruiting process, which he admits was non-
discriminatory The only thing Slaight identified as being unfair in regard to his employment was
that he was allegedly not given anything “substantial” to work on. Slaight Dep. 106:6-15.
Slaight testified that he is “not really sure” if that was because of his race, but what is certain is
that Slaight was counseled for multiple performance and behavioral concerns before TCS’
customer (who is non-South Asian) ultimately asked that he be removed from the assignment
Slaight Dep. 129:20-21, 142:5-14. Slaight was subsequently terminated due to no other
positions matching his skills or geographic requirements He admits having no facts
establishing that his termination was due to his race. Slaight Dep. 161 :15-18.

Buchanan was never employed by TCS. He worked for Southern California Edison (“SCE”) in
its lT department for many years before SCE announced in 2013 that its lT unit would be
outsourced to TCS and other vendors. Buchanan Dep. 33:18-21. His entire complaint is that
four TCS employees were rude to him at a job fair sponsored by SCE. Buchanan Dep. 86:13-
25. However, TCS’ hiring decisions at SCE reveal no bias in favor of South Asians. Non-
lndians were considered by TCS at the very same job fair Buchanan contends resulted in his
disparate treatment

ln addition to the absence of a triable issue of material fact with respect to the named plaintiffs’
claims, there are statute of limitations and administrative exhaustion defenses partially
impacting their ability to proceed to trial.

For the foregoing reasons, and others, TCS seeks leave to file a summary judgment motion.

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A Limited Liabi|ity Partnership

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Corporations

 

 

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PROOF OF SERVICE

I, Davonna Brockman, the undersigned, declare that:

l am employed in the County of Los Angeles, State of California, over the age of 18, and
not a party to this cause. My business address is 10100 Santa Monica Blvd., Suite 2200, Los
Angeles, CA 90067.

On January 13, 2017, I served a true copy of the LETTER TO THE COURT
REGARDING MOTION FOR SUMMARY JUDGMENT on the parties in this cause as follows:
lZl (VIA EMAIL) l caused the transmission of the above-named document(s) to the email

address set forth below, or on the attached service list

Hon. Yvonne Gonzalez Rogers

United States District Court, Northern District of California
Oakland Courthouse, Courtroorn l - 4th Floor

1301 Clay Street

Oakland, CA 94612

YGRpo@cand.uscourts.gov

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct

Executed on January 13, 2017, at Los Angeles, California.

W»%~

Davonna Brockman

 

